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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OKLAHOMA

  1. AUTUMN S. SLOGGETT,                    )
     an Individual,                         )
                                            )
                Plaintiff,                  )
                                            )
  v.                                        )
                                            )      No. CJ-2017-2684
  1. STATE FARM MUTUAL                      )
  AUTOMOBILE INSURANCE                      )      Honorable Dana Lynn Kuehn
  COMPANY, a/k/a and/or d/b/a               )
  STATE FARM MUT AUTO INS CO,               )      No. CIV-18-cv-83-JED-JFJ
  a/k/a and/or d/b/a STATE FARM             )
  INSURANCE COMPANY, a/k/a                  )      Honorable John E. Dowdell
  and/or d/b/a STATE FARM,                  )
  a Foreign for Profit Corporation;         )
  2. METROPOLITAN GROUP                     )
  PROPERTY AND CASUALTY                     )
  INSURANCE COMPANY, a/k/a                  )
  and/or d/b/a METLIFE HOME AND             )
  AUTO a/k/a and/or d/b/a METLIFE,          )
  a Foreign for Profit Corporation; and     )
  3. JOHN DOE, a Business Entity;           )
  and                                       )
  4. JANE DOE, an Individual,               )
                                            )
                Defendants.                 )

                                 NOTICE OF REMOVAL

         PLEASE TAKE NOTICE that Defendant, State Farm Mutual Automobile Insurance

  Company (“State Farm”), pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Rule 38(b) of the

  Federal Rules of Civil Procedure and Local Civil Court Rule 81.1 of the United States

  District Court for the Northern District of Oklahoma, hereby files this Notice of Removal of
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  this case from the District Court of Tulsa County, Oklahoma, in which court this case is

  pending, to the United States District Court for the Northern District of Oklahoma, being the

  district embracing the place where the case is pending. In support of this Notice of Removal,

  Defendant states the following:

                                    Timeliness of Removal

         1.     Plaintiff commenced this action by filing the Petition in the District Court of

  Tulsa County, on July 7, 2017. Plaintiff failed to serve the Petition upon any of the parties.

         2.     Plaintiff filed an Amended Petition in the District Court of Tulsa County, on

  January 3, 2018.

         3.     State Farm was served via the Oklahoma Insurance Commissioner on January

  19, 2018.

         4.     In accordance with 28 U.S.C. § 1446(a) and LCvR 81.2, a copy of the Docket

  Sheet and a clearly legible copy of all documents filed or served in the Tulsa County case are

  attached to this Notice of Removal as Exhibit Nos. “1” through “4”.

         5.     This removal was effected within 30 days of service of the Amended Petition

  on State Farm and therefore is timely. 28 U.S.C. § 1446(b); Murphy Bros., Inc. v. Michetti

  Pipe Stringing, Inc., 526 U.S. 344 (1999) (notice of removal is timely under 28 U.S.C.

  § 1446(b) if filed within 30 days after service of the complaint).




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                                     Diversity Jurisdiction

         6.     At the time the Amended Petition was filed, at the time of removal and all

  intervening times, the Plaintiff was (and is) a resident and citizen of the State of Oklahoma.

         7.     State Farm is a foreign insurance company incorporated in the State of Illinois

  and its principal place of business is in the State of Illinois. State Farm is licensed to do

  business in the State of Oklahoma. Therefore, it is deemed to be an Illinois citizen for the

  purpose of diversity.

         8.     Upon information and belief, Defendant Metropolitan Group Property and

  Casualty Insurance Company, improperly named as Metropolitan Property and Casualty

  Insurance Company a/k/a and/or d/b/a MetLife Auto & Home, a/k/a and/or d/b/a MetLife,

  is a corporation organized under the laws of the State of Rhode Island, and its principal place

  of business is in Rhode Island; therefore, it is deemed to be a Rhode Island citizen for

  purposes of diversity.

         9.     Defendants John Doe and Jane Doe have not been properly joined and served

  in this matter. According to 28 U.S.C. § 1441(b), a civil action removable solely on the basis

  of diversity may not be removed if any of the parties in interest properly joined and served

  as defendants is a citizen of the State in which the action is brought. “Section 1441(b) allows

  removal of diversity actions where none of the defendants properly joined and served is a

  resident of the state in which the action is served.” Wensil v. E.I. Dupont De Nemours and

  Co., 792 F.Supp. 447, 449 (D.S.C. 1992). At the time of this removal, only State Farm,




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  which is not an Oklahoma resident, has been served. No other defendant has been properly

  joined and served. Thus, there is complete diversity between Plaintiff and Defendant State

  Farm.

          10.   Title 28, United States Code § 1441(a) provides that “[f]or purposes of removal

  under this chapter, the citizenship of defendants sued under fictitious names shall be

  disregarded.” The Tenth Circuit has held that, consistent with the text of 28 U.S.C.

  § 1441(a), the citizenship of “John Doe” defendants should be disregarded when considering

  the propriety of removal under 28 U.S.C. §§ 1441(a) and 1332. Australian Gold, Inc. v.

  Hatfield, 436 F.3d 1228, 1235 (10th Cir. 2006). Other Circuit Courts have also held that

  “John Does” are disregarded for purposes of removal on the basis of diversity of citizenship.

  See, e.g., Howell ex rel. Goerdt v. Tribune Entm't Co., 106 F.3d 215, 218 (7th Cir.1997)

  (“[N]aming a John Doe defendant will not defeat the named defendants' right to remove a

  diversity case if their citizenship is diverse from that of the plaintiffs.”); Alexander v.

  Electronic Data Sys. Corp., 13 F.3d 940, 948 (6th Cir.1994) (“It is clear that ‘Jane Doe’ is

  a fictitious name; no such real person was ever named, and plaintiff never identified the

  alleged person.... Section 1441(a) compels that this ‘named’ defendant be disregarded for

  purposes of diversity jurisdiction.”). Thus, there is complete diversity between Plaintiff and

  Defendant State Farm, and removal is proper.

          11.   Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. § 1332 as there

  is complete diversity between Plaintiff and State Farm. Removal is proper pursuant to 28

  U.S.C. §§ 1332, 1441 and 1446.




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                        Allegations and Claims in the Amended Petition

          12.      According to Plaintiff’s Amended Petition, the underlying lawsuit arises out

  of a bodily injury UM/UIM claim regarding an automobile accident involving Plaintiff and

  Justin Sloggett, which occurred on or about July 11, 2015. Plaintiff was a passenger in the

  vehicle driven by Justin Sloggett, which was involved in a collision with a third party. The

  vehicle was insured with a policy of automobile insurance, Policy No. 3616-328-36, issued

  by State Farm to Justin Sloggett. Plaintiff alleges she is entitled to benefits under the policy’s

  uninsured motorist coverage and that State Farm improperly denied Plaintiff benefits under

  the policy. Plaintiff also contends State Farm’s actions in dealing with Plaintiff and handling

  the claim were in bad faith. Plaintiff also seeks punitive damages to punish State Farm for

  its alleged bad faith conduct.

          13.      At the time that suit was filed and up to this day, State Farm was continuing

  its investigation into Plaintiff’s claims and to date has made payment under the uninsured

  motorist coverage to Plaintiff in the amount of $5,000.00 on July 6, 2016, representing an

  initial offer.

          14.      Plaintiff alleges that State Farm breached its contract with Plaintiff and that

  State Farm breached its duty of good faith and fair dealing. All of this is denied by State

  Farm.




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                                  Amount in Controversy

        15.    State Farm and its counsel represent to this Court their good faith belief that

  the amount in controversy is met for the following reasons:

               a.     Plaintiff alleges State Farm acted in bad faith and
                      that State Farm breached the insurance contract
                      with Plaintiff.

               b.     Plaintiff specifically states in her Amended
                      Petition that she is seeking judgment against State
                      Farm “in excess of Seventy-Five Thousand
                      Dollars ($75,000.00)," which is an amount in
                      excess of the amount required for diversity
                      jurisdiction pursuant to 28 U.S.C. §1332.

               c.     Plaintiff’s Amended Petition asserts that State
                      Farm’s conduct was such that it is claimed to be
                      liable for damages which include actual and
                      punitive damages.

               d.     Based on Plaintiff’s allegations, prayer for
                      recovery of actual and punitive damages,
                      Plaintiff is seeking judgment against State Farm
                      in an amount exceeding the sum of $75,000.00,
                      together with interest, attorney fees and costs,
                      which is in excess of the amount required for
                      diversity jurisdiction pursuant to 28 U.S.C. §1332.

        16.    While State Farm disputes Plaintiff’s allegations, State Farm and its counsel

  have attempted in good faith to set forth the factual basis for establishing the amount in

  controversy in excess of $75,000.00 has been met in accordance with Laughlin v. Kmart

  Corp., 50 F.3d 871 (10th Cir. 1995). See also Schrader v. Farmers Insurance Company, 2008




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  WL 2782710 (W.D. Okla.) (citing to McPhail v. Deere & Co. 529 F.3d 947 (10th Cir. 2008).

         17.    Pursuant to 28 U.S.C. § 1446(a), State Farm acknowledges that this Notice of

  Removal is signed and filed herein pursuant to Rule 11 of the Federal Rules of Civil

  Procedure.

         18.    State Farm and its counsel acknowledge that the timing of this removal is

  governed by 28 U.S.C. § 1446(b) which provides, in pertinent part:

                The notice of removal of a civil action or proceeding shall be
                filed within 30 days after receipt by the defendant, through
                service or otherwise, of a copy of the initial pleadings setting
                forth the relief upon which such action or proceeding is based,
                or within 30 days after the service of summons upon the
                defendant if such initial pleading has then been filed in court
                and is not required to be served on the defendant, whichever
                period is shorter.

                If the case stated by the initial pleading is not removable, a
                notice of removal may be filed within 30 days after receipt by
                the defendant, through service or otherwise, of a copy of an
                amended pleading, motion, order or other paper from which it
                may be first ascertained that the case is one which is or has
                become removable . . . .

         State Farm contends that removal is proper based upon the face of the Amended

  Petition and that said removal has been done so timely. See Martin v. Franklin Corp., 251

  F.3d 1284, 1290 (10th Cir. 2001) (holding that a Section 1332(a) removal is appropriate only

  if the amount-in-controversy requirement is “affirmatively established” on the face of either

  the state court petition or the notice of removal); see also 23 O.S. § 9.1(C)(2)(b); Meira v.




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  Dairyland Ins. Co., 143 F.3d 1337 (10th Cir. 1998); Salaar v. Geico Ins. Co., 2010 WL

  2292930 (D.N.M. 2010).

         19.    The Tenth Circuit has construed the language of 28 U.S.C. § 1446(b) to mean

  that “the removal period does not begin until the defendant is able to ‘intelligently ascertain

  removability so that in his petition for removal he can make a simple and short statement of

  the facts.’” Huffman v. Saul Holdings Limited Partnership, 194 F.3d 1072, 1079 (10th Cir.

  1999) (quoting DeBry v. Transamerica Corp., 601 F.2d 480, 489 (10th Cir. 1979). The notice

  of removability must be “unequivocal,” and “the circumstances permitting removal must

  normally come about as a result of a voluntary act on the part of the Plaintiff.” Id. (citing

  DeBry, 601 F.2d at 486-88).

         20.    Upon the face of Plaintiff’s Amended Petition, it clearly states that Plaintiff

  seeks money damages in an amount in excess of the amount required for diversity

  jurisdiction pursuant to 28 U.S.C. § 1332.

         21.    Pursuant to the teachings of Laughlin, supra, the removing defendant bears the

  burden of establishing federal court jurisdiction at the time of removal. Laughlin, 50 F.3d

  at 873. State Farm and its counsel contend that the facts and reasons set forth above support

  removal.

         22.    Pursuant to LCvR 81.1, State Farm demands a jury trial and affirmatively states

  Plaintiff is put on notice of said demand.




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        23.    Contemporaneously with the filing of this Notice of Removal, written notice

  has been served upon the Plaintiff through her counsel of record and a copy of this Notice

  of Removal has been filed with the District Court of Tulsa County, Oklahoma.


                                           Respectfully submitted,

                                           WILSON, CAIN & ACQUAVIVA
                                           300 Northwest 13th Street, Suite 100
                                           Oklahoma City, Oklahoma 73103
                                           Telephone: (405) 236-2600
  Date: February 8, 2018                   Facsimile: (405) 231-0062


                                            s/Joseph T. Acquaviva, Jr.
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                                           STATE FARM MUTUAL AUTOMOBILE
                                           INSURANCE COMPANY




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                                 CERTIFICATE OF SERVICE

       X      I hereby certify that on the 8th day of February, 2018, I electronically transmitted
   the attached document to the Clerk of the Court using the ECF System for filing. Based on
   the records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing
   to the following ECF registrants:

   John Paul Truskett
   Samuel T. Perrine
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   Samuel@trustkettlaw.com
   ATTORNEY FOR PLAINTIFF

           I hereby certify that on the          day of           , 2018, I served the attached
   document by certified mail, return receipt requested, with proper postage prepaid thereon to
   the following:



                                                       s/Joseph T. Acquaviva, Jr.
                                                      Joseph T. Acquaviva, Jr.
                                                      Brett E. Gray




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